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                               UNITED STATES DISTRICT COURT
   14
                             CENTRAL DISTRICT OF CALIFORNIA
   15
                                                       )   Case No.: 2:20-cv-02303-CBM-MAA
   16    CHRIS HASHEM, individually and                )
         on behalf of all others similarly situated,   )
   17                                                      (Consolidated with Case No. 2:20-cv-
                             Plaintiff,                )
   18                                                  )   02895-CBM-MAA)
               v.                                      )
   19                                                  )   SECOND REQUEST FOR
         NMC HEALTH PLC, PRASANTH                      )   JUDICIAL NOTICE AND
   20    MANGHAT, KHALIFA BIN BUTTI,                       INCORPORATION BY
                                                       )   REFERENCE IN SUPPORT OF
         PRASHANTH SHENOY, H.J. MARK                   )
   21    TOMPKINS, and B.R. SHETTY,                        MOTION TO DISMISS OF
                                                       )   DEFENDANT B.R. SHETTY
   22                        Defendants.               )
                                                       )   Date: September 28, 2021
   23                                                      Time: 10:00AM
                                                       )
   24
                                                       )   Place: Courtroom
                                                       )
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   28   SECOND REQUEST FOR JUDICIAL NOTICE AND INCORPORATION BY REFERENCE IN SUPPORT OF
        MOTION TO DISMISS OF DEFENDANT B.R. SHETTY
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    1         Defendant B.R. Shetty requests that the Court take judicial notice of the
    2   documents attached hereto as Exhibits 6-8. As to Exhibit 6, NMC Health Plc’s 2018
    3   annual report, Shetty further requests that the Court consider the document incorporated
    4   by reference to Plaintiffs’ Amended Complaint.
    5         Under Federal Rule of Evidence 201, courts may “take judicial notice of
    6   undisputed matters of public record.” Harris v. County of Orange, 682 F.3d 1126, 1132
    7   (9th Cir. 2012). Federal Rule of Evidence 201 provides that the “court may judicially
    8   notice a fact that is not subject to reasonable dispute because it: (1) is generally known
    9   within the court’s territorial jurisdiction; or (2) can be accurately and readily
   10   determined from sources whose accuracy cannot reasonably be questioned.” Fed. R.
   11   Evid. 201.
   12         Exhibit 6: NMC Health Plc Annual Report & Accounts 2018 (“2018 Annual
   13   Report”) dated March 6, 2019. Shetty requests that the Court take judicial notice of the
   14   2018 Annual Report and consider the document incorporated by reference to the
   15   Amended Complaint.
   16         The doctrine of incorporation by reference allows courts to “treat … a document
   17   as ‘part of the complaint, and thus may assume that its contents are true for purposes of
   18   a motion to dismiss under Rule 12(b)(6).’” Marder v. Lopez, 450 F.3d 445, 448 (9th
   19   Cir. 2006). Incorporation by reference “prevents plaintiffs from selecting only portions
   20   of the documents that support their claims, while omitting portions of those same
   21   documents that weaken their claims.” Garcia v. J2 Global, Inc., 2021 WL 1558331, at
   22   *5 (C.D. Cal. Mar. 5, 2021). A “document may be deemed incorporated by reference
   23   if the plaintiff refers extensively to the document or the document forms the basis of
   24   the plaintiff’s claim.” Id. A “document forms the basis of a claim when it serves as
   25   the foundation for an element of the claim.” Id.
   26         Plaintiffs quote extensively from the 2018 Annual Report and necessarily rely
   27   on the 2018 Annual Report as the basis for alleged false and misleading statements
   28   issued during the Class Period. See Dkt.56 (Amended Complaint), ¶¶55-64. There is
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        SECOND REQUEST FOR JUDICIAL NOTICE AND INCORPORATION BY REFERENCE IN SUPPORT OF
        MOTION TO DISMISS OF DEFENDANT B.R. SHETTY
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    1   no question that the document attached as Exhibit 6 is a true and correct copy of NMC’s
    2   2018 Annual Report.
    3         The Court may also judicially notice the 2018 Annual Report because the report
    4   is publicly available on NMC’s website, and because the report is “capable of accurate
    5   and ready determin[ation] from sources whose accuracy cannot reasonably be
    6   questioned.” Fed.R.Evid. 201(b)(2); See Risto v. Screen Actors Guild – American
    7   Federation of Television and Radio Artists, 2018 WL 7016345, at *4 (C.D. Cal. Nov.
    8   6, 2018) (granting defendants’ request to judicially notice three years of publicly
    9   available annual reports).
   10         Exhibit 7: Second Amended and Consolidated Class Action Complaint for
   11   Violation of the Securities Laws of the United States and Japan filed in Mark Stoyas et
   12   al. v. Automotive Industries Pension Trust Fund, Case No. 2:15-cv-04194-DDP (JCx)
   13   (C.D. Cal.) (Dkt. 75) (“Toshiba II Complaint”). The Toshiba II Complaint is a public
   14   court filing in this District and a proper subject of judicial notice. See Reyn’s Pasta
   15   Bella, LLC v. Visa USA, Inc., 442 F.3d 741, 746 n.6 (9th Cir. 2006) (A “court may take
   16   judicial notice of court filings and other matters of public record.”).
   17         Exhibit 8: NMC Health Plc Annual Report & Accounts 2014 (“2014 Annual
   18   Report”) dated February 23, 2015.         Specifically, Shetty requests that the Court
   19   judicially notice page 24 of the 2014 Annual Report, and in particular the chart of build
   20   out expenditures for Brightpoint Royal Women’s Hospital (now known as NMC Royal
   21   Women’s Hospital). Plaintiffs reference the build out expenditures for Brightpoint
   22   Royal Women’s Hospital in Paragraph 71 of the Amended Complaint.
   23         The Court may judicially notice the 2014 Annual Report because the report is
   24   publicly available on NMC’s website, and is “capable of accurate and ready
   25   determin[ation] from sources whose accuracy cannot reasonably be questioned.”
   26   Fed.R.Evid. 201(b)(2); see also Risto v. Screen Actors Guild – American Federation of
   27   Television and Radio Artists, 2018 WL 7016345, at *4 (C.D. Cal. Nov. 6, 2018)
   28   (granting defendants’ request to judicially notice three years of publicly available
                                                   2
        SECOND REQUEST FOR JUDICIAL NOTICE AND INCORPORATION BY REFERENCE IN SUPPORT OF
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    1   annual reports). There is no question that the document attached as Exhibit 8 is a true
    2   and correct copy of the 2014 Annual Report.
    3         For the reasons stated above, this request for judicial notice and incorporation by
    4   reference should be granted.
    5

    6   Dated: September 22, 2021              By: /s/ Mark B. Chassman
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        SECOND REQUEST FOR JUDICIAL NOTICE AND INCORPORATION BY REFERENCE IN SUPPORT OF
        MOTION TO DISMISS OF DEFENDANT B.R. SHETTY
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    1                               CERTIFICATE OF SERVICE
    2         I hereby certify under penalty of perjury that on September 22, 2021, the
    3   foregoing document was electronically filed with the Clerk of the Court using the
    4   CM/ECF system which will send notification of such filling to the Electronic Service
    5   List for this Case. I declare that the foregoing is true and correct.
    6

    7         Dated: September 22, 2021                /s/ Mark B. Chassman
    8                                                  Mark B. Chassman

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        SECOND REQUEST FOR JUDICIAL NOTICE AND INCORPORATION BY REFERENCE IN SUPPORT OF
        MOTION TO DISMISS OF DEFENDANT B.R. SHETTY
        CASE NO. 2:20CV02895-CBM-MAA
